  Case 16-00692      Doc 67      Filed 01/09/18 Entered 01/09/18 13:39:07       Desc Main
                                   Document     Page 1 of 3


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

       IN RE:                                           )
                                                        )
       Ki Chang Kim and Mira Kim                        )   Case No. 16-00692
                                                        )   Chapter 7
                      Debtors.                          )   Judge Carol A. Doyle

                                      NOTICE OF MOTION

       To:    David M. Siegel

       PLEASE TAKE NOTICE that on the January 11, 2018 at 10:30 am or as soon as
counsel may be heard, I shall appear before Judge Carol A. Doyle in Courtroom 742 of the
United States Bankruptcy Court, 219 South Dearborn, Chicago, Illinois, 60604, and shall
then and there present Motion for Relief from the Automatic Stay, a copy of which is
hereby served upon you.



                                                            By: /s/ Ryan Kim__________
                                                                Its Attorney

Ryan Kim
Inseed Law, P.C.
2454 E Dempster St. #301
Des Plaines, IL 60016
(847) 905-6262




                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the January 9, 2018, he duly served (or
caused to be served) upon the persons on the attached Service list, by First Class U.S. Mail,
unless such parties were electronically notified, together with a copy of the Routine Motion
and Notice thereto.


                                                      /s/ Ryan Kim______________________



                                                  1
  Case 16-00692         Doc 67      Filed 01/09/18 Entered 01/09/18 13:39:07    Desc Main
                                      Document     Page 2 of 3


                         IN THE UNITED STATES BANKRUPTCY COURT
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       IN RE:                                           )   Case No. 16-00692
                                                        )
       Ki Chang Kim and Mira Kim                        )   Chapter 7
                                                        )
                         Debtors.                       )   Judge Carol A. Doyle

                       MOTION FOR RELIEF FROM THE AUTOMATIC STAY

   NOW COMES Nong Shim America (“Nong Shim”), by and through its attorney, Ryan

Kim, pursuant to Section 362 of the United States Bankruptcy Code (the “Code”), 11 U.S.C.

§362, brings this Motion for Relief from the Automatic Stay (the “Motion”), and hereby

respectfully requests the entry of an Order granting Nong Shim relief from the automatic

stay with respect to certain real property of the Debtors having an address of 4600 W. Jarvis

Ave, Skokie, IL 60076 (the “Property”). In further support of this Motion, Movant

respectfully states:

   1. Debtors filed a petition under Chapter 7 of the United States Bankruptcy Code on

       January 19, 2016. A discharge has not been issued yet, pending the resolution of an

       adversary proceeding.

   2. Nong Shim has a judgment lien against Debtors’ Property commonly known as 4600

       W. Jarvis Ave, Skokie, IL 60076.

   3. Said Judgment was recorded on September 29, 2011, in the Recorder’s Office of

       Cook County, Illinois as Document Number 1227650059 (“Judgment”).

   4. As of January 9, 2018, the outstanding amount of the Debtors’ obligation under the

       Judgment is $36,314.36.




                                                   2
 Case 16-00692      Doc 67    Filed 01/09/18 Entered 01/09/18 13:39:07          Desc Main
                                Document     Page 3 of 3


   5. This Court entered an Order granting in part and denying in part the Motion to

      Avoid Lien, on December 6, 2017. The Court held that the home had enough equity

      that $26,162.00 of the lien remained.

   6. Pursuant to 11 U.S.C. §362(d), cause exists to grant Movant relief from the

      automatic stay for the following reasons:

      a. Movant’s interest in the Property is not adequately protected as there is a

          continuing daily increase in the total amount outstanding and chargeable against

          said Property for interest and costs due under the Judgment.

      b. Debtors’ obligation under the Judgment is in default and Debtors are due in the

          amount of $36,314.36 as of January 9, 2018.

          WHEREFORE, Movant prays that this court enter an order terminating or

   modifying the automatic stay and granting the following: Relief from the Stay allowing

   Movant to proceed under applicable nonbankruptcy law to enforce its remedies to

   foreclose upon and obtain possession of the property and for such other relief as the

   court deems proper.



          Respectfully submitted,


Dated: January 9, 2018

                                          Nong Shim America, Inc.

                                           /s/ Ryan Kim                  .
                                           Ryan J. Kim

                                           INSEED LAW, P.C.
                                           2454 E Dempster St Suite 301
                                           Des Plaines, IL 60016
                                           Attorney for Plaintiff

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